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July 28, 2023

VIA ECF
The Honorable John G. Koeltl
United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 14A
New York, NY 10007-1312

Re:     Hachette Book Group, Inc., et al. v. Internet Archive, Case No. 1:20-CV-04160-JGK

Your Honor:

The parties write jointly in connection with their July 28 deadline to submit a proposal for
the appropriate procedure to determine the judgment to be entered in this case.

The parties are very close to finalizing the terms of a consent judgment subject to a right of
appeal, as well as other documents reflecting the parties’ anticipated agreements. We hope
to be able to submit the proposed consent judgment to the Court in the next week or so.

Accordingly, the parties respectfully request that the Court issue an order extending the
deadline to submit a proposal for the appropriate procedure to determine the judgment to be
entered in this case to August 11, 2023.

We appreciate the Court’s time and attention to this matter.

Respectfully submitted,

 MORRISON & FOERSTER LLP                          DAVIS WRIGHT TREMAINE LLP

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The Honorable John G. Koeltl
July 28, 2023
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